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TAB 16
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Deposition of Leslie Paoletti September 20, 2005
Page 1 |

IN THE SUPERIOR COURT

FOR THE STATE OF CONNECTICUT :

COMPLEX LITIGATION :

DOCKET AT TOLLAND :

STATE OF CONNECTICUT, :
Plaintiff, :

vs. Docket No. i
X07 CV-XX-XXXXXXX-S (CLD) :

DEY, INC., ROXANE LABORATORIES, INC., i
WARRICK PHARMACEUTICALS CORP., :
SCHERING-PLOUGH CORP. AND :
SCHERING CORPORATION, i
Defendants. :
DEPOSITION OF ‘

LESLIE PAOLETTI :

September 20, 2005 :

10:00 a.m. :

1375 East Ninth Street :

One Cleveland Center, 21st Floor :

Cleveland, Ohio :

Aimee N. Szinte, a Notary Public :

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Deposition of Leslie Paoletti September 20, 2005
Page 30 Page 32}:
1 our AWP as well. That would be one 1 A. Yes.
2 instance. 2 Q. Okay. What does that mean to
3 Q. And why, why would it be 3 you?
4 important at that point to raise AWP 4 A. Direct price is a price -- we k
5 when the contract price goes up above 5 set our price at 10 percent above our 3
6 what the prior AWP was? 6 WAC, generally. :
7 A. Contract price can't be higher 7 Q. Are there instances when the
8 than the price I sell to a wholesaler; 8 direct price is not 10 percent above :
9 therefore, any price relating to that 9 the WAC? :
10 would have to be changed, as well. 10 A. Not that I'm aware of. :
11 Q. And so is the average 11 Q. And who is responsible for
12 wholesale price a price that the 12 setting the direct price? :
13 wholesalers pay? 13 A. The direct price -- I would i
14 A. No. AWP is nota price the 14 generally since 98 have made a
15 wholesalers pay from us. 15 recommendation to change or set direct
16 Q. What is the term that is used 16 price and then there would be multiple
17 for the price that a wholesaler pays 17 approvals from other people in
18 for products from Roxane? 18 departments that would have
19 A. WAC, wholesale acquisition 19 responsibility for saying yes or no.
20 cost. 20 Q. Inmissed the part about -- in
21 Q. Okay. Let's move on toa 21 your answer about who makes the
22 different, the next term. This is 22 recommendation?
23 contract price. 23 A. Ihave made recommendations
24 What is your understanding of 24 since about 1998 for most of the
25 the processes used to establish a 25 multisource products at Roxane.
Page 31 Page 33 i
1 contract price? 1 Q. What factors then are ‘
2 A. Contract price is generally 2 considered when a decision is initiated :
3 determined by the customer and the 3 or made -- a decision is made to change ‘
4 market for a given product. 4 a direct price, what are you looking at :
5 Q. And is that true since the 5 when you make that determination? :
6 1998 time period forward? 6 A. Typically, it's set at 10
7 A. I believe so. 7 percent above WAC. :
8 Q. And then what are the 8 Q. And as far as changes made to :
9 processes or policies used when contract 9 direct price, then that would be linked |
10 prices change or are amended? 10 to the WAC then, is that correct? :
11 A. Can you say that again? I'm 11 A. Yes. :
12 sOrTy. 12 Q. Ifthe WAC were to change,
13 Q. What are the processes or 13 then the direct price would change?
14 policies by which Roxane amends or 14 A. I think that's typically been
15 changes contract price? Are there 15 the case, yes.
16 certain steps? 16 Q. Let's move on to another
17 A. It varies by contract. It 17 term. This one is called list price.
18 varies by customer, by product, by 18 Are you familiar with list
19 situation. 19 price?
20 Q. Isita process that involves 20 A. [have heard the term before,
21 more than one decision maker? 21 yes.
22 A. Frequently. 22 Q. And what is your understanding
23 Q. Okay. Let's go on to a term 23 of the term list price?
24 called direct price. Are you familiar 24 A. It depends on how its being
25 {25 used, Generally, I have heard it in

9 (Pages 30 to 33)

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